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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 20-CV-14323-ROSENBERG

    GINGER FEATHERSTONE

                 Plaintiff,
    v.

    FLOOR AND DECOR OUTLETS OF
    AMERICA,INC., and ORLANDO
    ADAMES,

                Defendants.
                                            /

                           PLAINTIFF
                                   ' S MOTION FOR REMAND
                       AND INCORPORATED MEMORANDUM OF LAW

          PLAINTIFF,Ginger Featherstone hereby submit this Motion for Remand and Incorporated

   Memorandum of Law and states as follows:

              A. Executive Summary

          On September 15, 2020, this case was improperly removed from the Circuit Court of St.

   Lucie County, Florida, and it should be remanded to state court for the following reasons:

              1. Procedural Defect: Defendant failed to comply with the 30-day deadline for

   removal under 28 U.S.C. Code § 1446; and,

              2. Orlando Adames is a resident of the State of Florida and a properly named

   defendant in this matter.

              B. Introduction

          On June 9, 2020, Plaintiff filed a personal injury suit in St. Lucie County, Florida against

   retail flooring and tile store, Floor and Decor Outlets of America, and the store's "Chief Executive
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   Merchant"(Store Manager), Orlando Adames. In the Complaint, Plaintiff alleges the negligence

   of Floor and Decor and Mr. Adames caused her to sustain a broken ankle during a fall caused by

   an in-store display. Floor and Decor was served with a copy of the complaint on June 10, 2020

   and Mr. Adames was served with a copy of the Complaint on June 11, 2020. On September 15,

   2020, Defendants filed a Notice of Removal, alleging that the amount in controversy is greater

   than $75,000 and fraudulent joinder of the non-diverse party, Mr. Adames.

          Given the information provided in the Notice of Removal, Plaintiff does not contest that

   the amount in controversy exceeds $75,000, however, Plaintiff moves for remand of this action to

   Circuit Court because Orlando Adames is a proper party to this action due to his personal course

   of action as well as the untimely removal of this case from circuit court, St. Lucie County, Florida.

              C. Standard - Removing Party
                                         ' s Burden

          Federal courts are courts of limited jurisdiction and uncertainties regarding the jurisdiction

   of the court are resolved in favor of remand. Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (1 1 th

   Cir. 1994). The removing party has the burden of proving that federal jurisdiction exists by a

   preponderance of the evidence, and the removing party must present facts establishing its right to

   remove. See Williams v. Best Buy Company, Inc., 269 F.3d 1316, 1319(11t
                                                                         h Cir. 2001). Federal

   courts are directed to construe removal statutes strictly, resolve all doubts about jurisdiction in

   favor of remand, and employ a presumption in favor of remand. Univ. of S. Alabama v. Am.

   Tobacco Co., 168 F.3d 405,411 (1 1 th Cir. 1999).

              D. Procedural Defect:Defendant
                                           ' s Removal was Untimely

          Defendants filed a Notice of Removal on September 15, 2020, 32 days after Plaintiff

   served the answers to discovery upon which removal is premised. 28 U.S.0 §1446 provides, "a

   notice of removal may be filed within thirty days after receipt by the defendant, through service or



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   otherwise, of a copy of an amended pleading, motion, order or other paper from which it may first

   be ascertained that the case is one which is or has become removable." 28 U.S.0 1446(b)(3).

          In the notice of removal, Defendants claim that "In the instant case, the time period for

   removal was not triggered until August 17, 2020, when the Defendant received Plaintiff's

   Interrogatory Answers and partial medical bills"(D.E. 1, at 11'34, emphasis in original). Defendant

   continues, "Mr' sum, the amount in controversy was not "clearly established" until Plaintiff,

   GINGER FEATHERSTONE,provided discovery responses and produced her partial medical bills

   on August 17, 2020 which, viewed in the totality of the circumstances, require a finding that the

   amount in controversy exceeds $75,000.00. As such, the Defendant has satisfied the timely filing

   exception of 28 U.S.C. § 1446(b)(3)." (D.E. 1 at 097). Defendant, in fact, has not satisfied the

   timely filing exception.

          However,Plaintiff served the discovery responses, which are quoted in Defendant's Notice

   of Removal at D.E. 1, r26 and attached thereto as exhibits, on August 14, 2020, not August 17,

   2020, as Defendants represent to the Court. The service email, a screenshot of which is excerpted

   below, is attached as Exhibit A hereto.




                                      [Image on thefollowing page.]




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     RE: SERVICE OF COURT DOCUMENT CASE NUMBER 562020CA000854AXXXHC FEATHERSTONE,GINGER vs.
     FLOOR AND DECOR OUTLETS OF AMERICA INC
     Lara Sucharski sucharsk Conewsomelaw.com>
    Firs 8114M320 5:02 PM
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     Notice of Service of Court Documents
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     Court:                      Nineteenth JudidalCircu t n and ia• St. Luae County, Florida

     Case                        562020CA0008541U0tXlic

     court case a:               2020CA000854

     case Style:                 FEATIIERSTONE, GINGER vs. FLOOR AND DECOR OUTLETS OF AMERICA INC



                 Not only did Defendant receive the discovery responses, including interrogatory answers, on

   August 14, 2020, but clearly reviewed them, sufficiently enough to identify alleged deficiencies, then

   respond to the service email to request a teleconference with the undersigned.'(See August 14, 2020

   email, excerpted below and attached hereto as Exhibit B).

                  Lara Sucharski
                  From:               Joseph A. Cafaro <jcafaro©hightowerlawnet>
                  Sent                Friday, August 14,2020 505 PM
                  To:                 Lara Sucharski; Azul Rosalm;GillenTearn
                  Cc                  Donna DeMarchi;eservice@eberstlawcom
                  Subject             RE:SERVICE OF COURT DOCUMENT CASE NUMBER 562020CA000854A)00(11C FEATHERSTONE,
                                      GINGER vs. FLOOR AND DECOR OUTLETS OF AMERICA INC


                  Lara(or VitoeVer handles scheduling for your team),
                  Please let me know'then Mr. Gillen is available for a phone conference next week to discuss the absolute
                  insufficiency ofthese answers.
                  Based on whatI see so far, we will not be canceling Thursday's hearing.
                 'Pranks,

                                  Joseph A.Cafaro,Esq.
                                      C2ematis_ St.2Ste.201
                   H
                   AS.          5 wTes                  33401
                                  (561)833-2o22



   I The teleconference between the parties took place August 18, 2020 and the "absolute insufficiency" referenced in
   Joseph Cafaro's August 14, 2020 email was limited to Plaintiff's response to Request for Admission 2, 24, and 25,
   which thereafter was the basis for Defendants' Motion to Deem Requestfor Admissions Admitted, To Compel Better
   Response, or to Limit Damages, filed in state court, and opposed in D.E. 9, filed by Plaintiff on September 29,2020.

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           The information received by Defendant which Defendant acknowledges "triggers" the 30-day

   timer for removal, specifically the amount of monetary damages, was received by and known to

   Defendant on August 14, 2020. While the actual medical bills were not received by Defendant until

   August 17,2020,the amount of the medical bills and out of pocket expenses was disclosed in Plaintiff's

   answers to interrogatories, which Defendant quoted word-for-word as the basis for removal due to the

   amount in controversy and the fact that Plaintiff is still treating (D.E. 1 at jr26)

                   19. I do not know the total amount of the bills. I know the
                   hospital visit was around $59,000. My out of pocket expenses are
                   around $1,500 so far. I just started physical therapy this week
                   so those are additional bills that will be coming.

           See Plaintiff's Answers to Interrogatory #19, D.E. 1-6.

           Additionally, in Defendant's Removal Status Report (D.E. 5), Defendants indicate the

   amount in controversy is satisfied as "Plaintiff has . . provided information indicating that her

   special damages are approximately $61,500.00 and actively accruing." (D.E. 5, page 3)

   Defendants further cite to Plaintiff's accruing physical therapy bills and other medical follow ups.

   Id. Lastly, Defendants note six categories of non-economic damages included in Plaintiff's

   Complaint when filed as a basis for removal. Id. As quoted above, the information regarding the

   amount of Plaintiff's economic damages and the need for additional physical therapy was included

   in Plaintiff's Answers to Interrogatories #19 (D.E. 1-6) which were served on Defendants on

   August 14, 2020. Additionally, Plaintiff's Answers to Interrogatory #14, also cited in the notice

   of removal,detailed that Ginger Featherstone was still unable to walk and non-weight bearing with

   a boot, and that the fibula bone had not yet knit together.

           The information upon which Defendants premised the amount in controversy was available

   to them in the Complaint(non-economic damage categories) and in the Answers to Interrogatories

  (economic damages and medical condition) and was readily ascertainable on August 14, 2020



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   when received and reviewed by Defendants' counsel. This untimely filing of the notice of removal

   mandates remand of this case as this Court lacks subject matter jurisdiction as Defendants have

   waived their right of removal by not complying with 28 U.S.C. §1446(b).


              E. Orlando Adames is a Proper Party

          With respect to the merits of Defendants' claim of fraudulent joinder of Orlando Adames,

   Florida law is clear to the effect that officers or agents of corporations may be individually liable

   in tort if they commit or participate in a tort, even if their acts are within the course and scope of

   their employment. White v. Wal-Mart Stores, Inc., 918 So.2d 357, 358 (Fla. Pt DCA 2005).

   Defendants contend there is fraudulent joinder for two reasons. First, Defendants claim Plaintiff

   has no possibility of proving a cause of action against Orlando Adames (D.E. 1 at $$ 38, 39).

   Second, Defendants contend that Plaintiff's claim against Floor and Decor has no real connection

   to the claim against Orlando Adames, the nondiverse defendant, and there is no joint, several or

   alternative liability with Defendant Adames,a fraudulent misjoinder allegation. (D.E. 1 and $9138,

   39,41).

           Defendants contend that Mr. Adames was fraudulently joined in this action and his

   citizenship should not be considered when examining diversity ofthe parties or consent to removal.

   Defendants contend Mr. Adames could not be liable to Plaintiff as he was not present at the Floor

   and Decor at the time of Ginger Featherstone's injury.

           Additionally, Defendant has submitted the affidavit of Orlando Adames wherein he

   testifies he was not present at the Floor and Decor store on the date of the injury to Plaintiff.(D.E.

   1-8,916). Further, Mr. Adames testifies he was not involved in the "planning, selecting, or placing

   of the display which Plaintiff alleges was negligently present in Store #191." (D.E. 1-8, ¶7).

   Defendant's testimony fails to address the issue of negligent maintenance, failing to correct, as


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   well as negligent failure to warn of the hazardous condition (Plaintiff's Complaint at 134).

   Additionally, Plaintiff's Complaint alleges that Orlando Adames failed to follow Floor and Decor

   policies and procedures which would have prevented this incident. (Plaintiff's Complaint at ¶35).

          As the store manager, Mr. Adames is personally responsible for the store, as well as its

   operations, the condition of its displays, inspection schedules/procedures, ensuring safe premises,

   and with compliance with company procedures. The Floor and Decor's job description for the

   position held by Orlando Adames at the time of the incident states as follows:


                 "At Floor and Decor,Store Manager/CEMs own the box,run the box,
                 and get to create the playbook that drives business success... The Store
                 Manager/CEM is responsible for providing strong leadership to the store
                 team and executing solid sales generation and operational strategies while
                 ensuring customer satisfaction, maximum productivity and profitability,
                 proper inventory control and compliance with company procedures."


          See Exhibit C, www.careers.f
                                     looranddecor.com website Job Description for "Chief

   Executive Merchant(Store Manager)" emphasis added. The circumstances of the instant case are

   distinguishable from those presented in the case law cited by Defendants, in that this is not simply

   a matter of spilled liquid in a store aisle, a hazard existing within a short and specific period of

   time,unknown or unknowable to an absent store manager. Rather,the display which caused Ginger

   Featherstone's injury was a semi-permanent feature within the footprint of the store under the

   direct control and supervision of Mr. Adames.

          Notably, prior to removal, Plaintiff served discovery, seeking Floor and Decor's policies

   and procedures pertaining to floor displays like the one which injured Plaintiff, but Floor and Decor

   refused to produce same, claiming the request was overly broad, vague, and ambiguous, and

   produced nothing. This case was removed prior to Plaintiff calling up the objections for hearing

   and/or pursuing a motion to compel.


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            The Defendants describe this case as a "trip and fall" in the Notice of Removal and include

   the affidavit of Mr. Adames to attest to the fact he was not present in the store at the time of the

   fall in a misplaced effort to fit this case within the caselaw they cite as to why Mr. Adames could

   never be personally liable. (D.E. 1,1138, 39). A review of Plaintiff's Answers to Interrogatories

   reveal that Defendants mischaracterize this incident in the Notice of Removal, in an effort to

   achieve its end.2 In fact, the claim put forth by Plaintiff is not a "slip and fall" like the Court may

   be picturing, but really a failure to maintain reasonably safe premises. (D.E. 1-1 at 19125-29).

   While it is correct that Ginger Featherstone lost her balance and fell, the injuries she sustained

   were due to her foot being caught beneath a raised and unguarded display and the edge of the

   display platform acting like a fulcrum when she fell, breaking the bones in her lower leg. It was

   not the impact with the ground that caused Plaintiff's injury, but rather the design, selection,

   placement, maintenance, inspection, and servicing of the display that caused her injuries.

            The burden of proving fraudulent joinder rests upon the Defendant. "As such, `[w]hen

   considering a motion to remand, federal courts are not to weigh the merits of a plaintiff's claim

   beyond determining whether it is an arguable one under state law." Tran v. Waste Management,

   Inc., 290 F.Supp2d 1286, 1293(M.D. Fla. 2003)quoting Crowe v. Coleman, 113 F.3d 1536, 1538

   (1 1 th Cir. 1997). In other words, a "district court's authority to look into the ultimate merits of

   the plaintiff's claims must be limited to checking for obviouslyfraudulent orfrivolous claims." Id.



   2 See D.E. 1-6 at No. 4:


   Interrogatory No.4:
   With respect to the incident, please describe how, when, and why the incident occurred, describing in detail what
   actions taken by you to avoid, prevent, or mitigate the occurrence of the incident.

    ANSWER: We were shopping for backsplash tile. We went to the store and first went to the back to look at some of
    the larger pieces but then went to the left wall where the backsplash tile was. I found one I liked and bent down to
    look to see if there was enough or if we'd need someone to check the back. As I stood up, I bumped into a portable
    tile display in the aisle. I lost my balance and tried to hang onto my cart to not fall, but I couldn't and caught my foot
    on the portable display — breaking my leg in two places

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   The moving party must prove that it would not be possible for a state court to find that "plaintiff[s]

   state even a colorable claim against the resident defendant." Pacheco de Perez v. AT & T Co., 139

   F.3d 1268, 1380 (11th Cir. 1998). In determining whether remand is appropriate, a district court

   evaluates the allegations of the complaint in the light most favorable to the plaintiff, resolving any

   uncertainties regarding state law in favor of the plaintiff. Crowe v. Coleman, 113 F.3d 1536, 1538

  (11th Cir. 1997).

          In Marinelli v. Carter, the court looked at a fraudulent joinder analysis against an elevator

   repairperson who was personally named in a lawsuit for negligent repair when an elevator failed

   several days after he adjusted the elevator brakes. Marinelli v. Carter, Case No. 8:19-cv-2041-T-

   36CPT (Fla. M.D. March 17,2020). The elevator repairperson had been named personally as well

   as his employer for his work on the elevator prior to it causing injury to plaintiff. Id. Schindler,

   the employer of the repairperson argued, as here, its employee was fraudulently joined as plaintiff

   did not allege personal and active participation in the tort. Id. The court noted the plaintiff

   intended to pursue a judgment against the repairperson arising out of the same occurrence that

   gives rise to liability for the other defendants. Id. The court declined to evaluate the merits of the

   claim except to determine a colorable argument could be made against the repairperson. Id.

           In Murray v. Teledyne Cont. Motors, Inc., the court was examining whether two airplane

   maintenance companies were fraudulently joined in a lawsuit concerning a plane crash. Murray v.

   Teledyne Continental Motors, Inc., Case No. 09-61644CIV-Altonaga/Brown, 2010 WL 62978

   (Fla. S.D. January 5,2010). Defendants contended the two companies,one which merely provided

   fueling service, and the other which provided maintenance service to the airplane were

   fraudulently joined. Id. (A third maintenance company was named but dismissed without

   prejudice when the company produced an uncontroverted affidavit it had never performed work



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    of any kind on the plane. Id.)

          The fueling company provided three affidavits all of which detailed fueling the plane and

    made no mention of a duty to inspect, service, maintain, or repair the airplane's engine. Id. The

    court found there was not fraudulent joinder with respect to the aircraft fueling company that was

    alleged to have breached its duty to inspect, service, maintain and repair the airplane engine,

    despite there being three affidavits from the defendant setting forth its employees only provided

    fuel and saw the pilot pouring oil into the engine. Id. The court held that because there was a

    possibility plaintiff may have a viable claim against the defendant, the defendant had not

    demonstrated fraudulent joinder. Id.      As to the second maintenance company, its affidavit

    acknowledged the company worked on plaintiff's plane, but contended plaintiff had not shown the

    type of work performed could cause the in-flight fire. Id. The court disagreed, noting that as this

    company provided work several months prior to the crash, plaintiff had at least a potential claim

    against it. Id.

            Similar to the affidavits in Murray, Orlando Adames' affidavit does not overcome the

    allegations of the Complaint so that it can be said, as a matter of law, that Plaintiffs claim against

    Adames is not "an arguable one under state law." Pacheco de Perez, 139 F.3d at 1380-81.

            In Hunt v. Target Corp.,the court examined the sufficiency of an affidavit used to challenge

    fraudulent joinder. Hunt v. Target Corp., Case No. 14-80266-CIV-MARRA/MATTHEWMAN,

    2014 WL 1515262 (S.D. Fla. Apr. 18, 2014). In Hunt, the court noted the affidavit of the store

    manager, who was personally named, was conclusory and failed to address all the allegations in

    plaintiff's complaint. Id. "Specifically, the portions of the affidavit which assert that Russell 'was

    not personally involved in any tortious act or conduct' and he 'did not cause or contribute to the

    dropping or placement of any liquid substance or other substance on the floor' are conclusory.



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    Therefore, the affidavit does not meet Target's burden."         Id. (Internal citation omitted).

    Additionally, the affidavit in Hunt failed to address allegations in plaintiff's complaint that the

    manager had a duty to maintain the premises from unsafe conditions or utilize reasonable care in

    the design, planning,inspection, and maintenance ofthe premises. Id. In light ofthese deficiencies

    in the manager's affidavit, the court could not conclude he had been fraudulently joined. Id.

           In this case, the affidavit of Orlando Adames likewise contains conclusory allegations

    which should not be considered by this Court. (D.E. 1-8 at 118, 9, 10). Mr. Adames offers the

    conclusory statements that he,"did not and could not have committed any of the acts or omissions

    complained of by Plaintiff", "there was nothing I could have done to avoid said accident", and,"I

    have been fraudulently joined to this lawsuit." Just as in Hunt, these conclusory statements should

    be discounted by the Court in determining whether Plaintiff has a possible cause of action against

    Mr. Adames as they are unsupported by facts.

           Additionally, as in Hunt, Mr. Adames' affidavit likewise fails to address all of the

    allegations of negligence alleged in Plaintiff's Complaint. Plaintiff's Complaint alleges Mr.

    Adames had a duty to reasonably inspect, implement inspection procedures, and cure hazardous

    conditions that existed on the property (Plaintiff's Complaint ¶9133, 34). The affidavit of Mr.

    Adames is silent as to these allegations and the Court should conclude Plaintiff has alleged a

    possible cause of action such that Mr. Adames was not fraudulently joined for diversity

    consideration.

           In this case, Defendants have not met their burden of establishing fraudulent joinder of

    Orlando Adames. The Defendants are asking this Court to speculate as to culpability of Mr.

    Adames by making conclusory statements without providing any factual support for the Court to

    rely upon in assessing whether Plaintiff has a possible cause of action against Mr. Adames.



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           Joinder of parties may be allowed if "(A) they assert any right to relief jointly, severally,

    of in the alternative in respect of or arising out of the same transaction, occurrent, or series of

    transactions or occurrences; and (B) if any question of law or fact common to all these persons

    will arise in the action." See Fed. R. Civ. P. 20(a). While Defendants contend the cause of action

    against Mr. Adames is not related to the cause of action against Floor and Decor in 139 of the

    Notice of Removal, a review of the Complaint in this matter would show the relief sought arises

    out of the same occurrence. (D.E. 1 at 139). Plaintiff's Complaint at 117 sets out a single incident

    on a single day and time when Ginger Featherstone's foot was entrapped, and she fell and was

    injured. The existence of a dangerous condition on the premises on that day would permeate

    claims against both Floor and Decor as well as Orlando Adames. The naming of Mr. Adames is

    not fraudulent joinder.

               F. Conclusion

           Defendants, as the removing party, bear the burden of establishing this Court has

    jurisdiction. The Defendants have waived their right to removal by failing to timely remove this

    case once it was readily ascertainable from the discovery responses that the amount in controversy

    was satisfied. This case is likewise ripe for remand as Defendants have failed to establish Plaintiff

    fraudulently joined Orlando Adames as Florida law recognizes the cause of action Plaintiff is

    proceeding pursuant to, and the affidavit of Mr. Adames is conclusory and fails to address all of

    the allegations of negligence in Plaintiff's Complaint.

           WHEREFORE,Plaintiff respectfully requests Plaintiff's Motion to Remand be granted and




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    this case remanded to circuit court, St. Lucie County, Florida.

           Respectfully Submitted this 7t
                                        h day of October 2020.

                                        CERTIFICATE OF SERVICE

           I hereby certify that on October 7, 2020 I electronically filed the foregoing with the Clerk

    of the Court using the CM/ECF system which will send notification ofsuch filing to the following:


    Joseph Cafaro;jcafaro@hightowerlaw.net, arosales@hightowerlaw.net,
    wpbservice@hightowerlaw.net

                                                                /s/P.Alexander Gillen
                                                                P.ALEXANDER GILLEN,ESQ.
                                                                Florida Bar No.: 470724
                                                                NEWSOME/ MELTON
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                                                                cardosa@newsomelaw.com
                                                                Counselfor Plaintiff




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10/1/2020                                                                      Mail - Lara Sucharski - Outlook               EXHIBIT A

     RE: SERVICE OF COURT DOCUMENT CASE NUMBER 562020CA000854AXXXHC FEATHERSTONE, GINGER vs.
     FLOOR AND DECOR OUTLETS OF AMERICA INC
     Lara Sucharski <sucharski@newsomelaw.com>
     Fri 8/14/2020 5:02 PM
     To: jcafaro@hightowerlaw.net <jcafaro@hightowerlaw.net>; arosales@hightowerlaw.net <arosales@hightowerlaw.net>; GillenTeam
     <gillenteam@newsomelaw.com>
     Cc: Donna DeMarchi <DDeMarchi@eberstlaw.com>; eservice@eberstlaw.com <eservice@eberstlaw.com>
     Bcc: Alex Gillen <gillen@newsomelaw.com>; Olivia Cardosa <cardosa@newsomelaw.com>; Lara Sucharski <sucharski@newsomelaw.com>

       9 attachments(2 MB)
     Notice Of Serving Answers To Interrogatories.pdf; Notice Of Serving Answers To Interrogatories pdf; Notice Of Serving Answers To Interrogatories.pdf; Response To
     Request For Admissions.pdf, Response To Request For Production.pdf; Response To Request For Production.pdf; Ptf Answers to Rogs pdf, Ptf Answers to Collateral
     Source Rogs..pdf; Ptf Answers to Medicare Rogs..pdf;




     Notice of Service of Court Documents
     Filing Information
     Filing U:                     111839015

     Filing Time:                  08/14/2020 04:43:15 PM ET

     Filer:                        Patrick Alexander Gillen 407-648-5977

     Court:                        Nineteenth Judicial Circuit in and for St. Lucie County, Florida

     Case ft:                      562020CA000854AXXXHC

     Court Case It:                2020CA000854

     Case Style:                   FEATHERSTONE, GINGER vs. FLOOR AND DECOR OUTLETS OF AMERICA INC

     Documents
      Title                                                                              File

      Notice Of Serving Answers To Interrogatories                                       Ptf NOS Answers to Collateral Source ROGS.pdf

      Notice Of Serving Answers To Interrogatories                                       Ptf NOS Answers to Medicare ROGS.pdf

      Notice Of Serving Answers To Interrogatories                                       Ptf NOS Answers to ROGS.pdf

      Response To Request For Admissions                                                 Ptf Resp to RFA.pdf

      Response To Request For Production                                                 Featherstone's Response to Floor Decor's Request For Production.pdf

                                                                                         Featherstone's Response to Floor Decor's Medicare Request For
                                                                                         Production.pdf
      Response To Request For Production




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Case 2:20-cv-14323-AMC Document 16 Entered on FLSD Docket 10/07/2020 Page 15 of 16

                                                                                            EXHIBIT B

Lara Sucharski

From:              Joseph A. Cafaro <jcafaro@hightowerlaw.net>
Sent:              Friday, August 14, 2020 5:05 PM
To:                Lara Sucharski; Azul Rosales; GillenTeam
Cc:                Donna DeMarchi; eservice@eberstlaw.com
Subject:           RE: SERVICE OF COURT DOCUMENT CASE NUMBER 562020CA000854AXXXHC FEATHERSTONE,
                   GINGER vs. FLOOR AND DECOR OUTLETS OF AMERICA INC


Lara (or whoever handles scheduling for your team),

Please let me know when Mr. Gillen is available for a phone conference next week to discuss the absolute
insufficiency of these answers.

Based on what I see so far, we will not be canceling Thursday's hearing.

Thanks,

                 Joseph A. Cafaro, Esq.
                33o Clematis St., Ste. 201
                 West Palm Beach,FL 33401
                (561)833-2022



From: Lara Sucharski [mailto:sucharski@newsomelaw.com]
Sent: Friday, August 14, 2020 5:01 PM
To: Joseph A. Cafaro <jcafaro@hightowerlaw.net>; Azul Rosales <ARosales@hightowerlaw.net>; GillenTeam
<gillenteam@newsomelaw.com>
Cc: Donna DeMarchi <DDeMarchi@eberstlaw.com>; eservice@eberstlaw.com
Subject: RE: SERVICE OF COURT DOCUMENT CASE NUMBER 562020CA000854AXXXHC FEATHERSTONE, GINGER vs.
FLOOR AND DECOR OUTLETS OF AMERICA INC




Notice of Service of Court Documents

Filing Information

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Filing Time:             08/14/2020 04:43:15 PM ET
Filer:                   Patrick Alexander Gillen 407-648-5977

Court:                   Nineteenth Judicial Circuit in and for St. Lucie County, Florida

Case #:                  562020CA000854AXXXHC

Court Case #:            2020CA000854


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Case 2:20-cv-14323-AMC Document 16 Entered on FLSD Docket 10/07/2020 Page 16 of 16




                                                                                                                                                            EXHIBIT C

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                                                                                                                              • Careeradvancementopporttmities
 related accessorim TheStore Manager/CEM is responsiblefordeveloping and leadm a high-performing team todrive
                                                                                                                              • Relocation opportunities acrrissthecountry
 retailsalesand achievecompetitiveresults in a highlycompleatore The Store Man..%
                                                                               , er/CEM is neponsiblefor provicing
 strong leadershiptothestoreteam and maltingsolid sales generation and operational strategies while ensuringcustomer          • 401k with discretionarycompany match

 satisfaction,mmdmum productivity and profitability, proper inventory control and compliance withcompany procedures.          • EmployeeStockPurchase Plan
                                                                                                                              • Referral Boma Program
 ESSENTIAL RESPONSIBILITIES
                                                                                                                              • Corporate DiscountPrograms
    • Oversee retail store operationsand store managementteams to ensuresalm goals are metand emeeded.                        • Mance,Dental,Vision,Lifeand other
    • Create and maintain sucansful partnerships with store,regionaland Store SupportCenter assodates.                          insurancePlans(subjectto eligibility criteria)
    • UseourCARE model to help assodatescreate an environmentthat is friendly,helpful,icnowledgeable and efficient
      for customers.
    • Recruit,intenriewand seled managementteam and salesassodatm to ensurestoreis properlystaffed with
      maximum scheduling coverage,especially during peak traffic periods.
    • Train and developa high-performing managementturnand ensure high qualitysupervision,training and
                                                                                                                                  People Also Viewed
      developmentofsalesassodates. Create pradicesto decrease assodate turnover.
                                                                                                                           Senior Director Regional Merchandising
    • Communicate perfonnancestandards and hold team membersaccountablefor achievingstandards. Provide regular
                                                                                                                           Orlando.Florida,32803
      coaching,feedback and performance disansions with associates.
    • Ensure brandstandards,brand consistency,store prmentation standardsand operating standardsare                        MetExo:utive Ma c.l kg it InTraining pore
      achieved/exceeded and maintained.                                                                                    Manager)
    • Ensure compliance ofpayroll and biziness planning processes. Monitor maintain and follow company policie             San Francisco6Calomla.94112
      supportcompany expectations and systems.
